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   Uk- 20 2019            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY
AT
WILLIAM T. WALSH, CL
   UNITED STATES OF AMERICA           :     HON.

        v.                                  Criminal No. 19- 3CCc

  BRIAN MEHLING                             26 U.S.C. § 7202
                                            31 U.S.C. § 5314 and 5322(a)

                                  INDICTMENT

                The Grand Jury in and for the District of New Jersey, sitting at

  Newark, charges:

        1.      Unless otherwise indicated, at all times relevant to this Indictment:

        2.      Defendant BRIAN MEHLING (“MEHLING”) was a resident of

  Hackensack, New Jersey and operated a company called Mehling Office

  Management, LLC (“Mehling Office Management”) as a limited liability

  company.

        3.      Mehling Office Management is the business structure through

  which MEHLING paid himself and his employees as part of his medical

  practice. MEHLING operated Mehling Office Management in Hackensack, New

  Jersey.

                             Employment Tax Withholding

        4.      Pursuant to the Internal Revenue Code and associated statutes

  and regtilations, including the Federal Insurance Contributions Act (“FICA”),

  employers are required to withhold amounts from the paychecks of their

  employees to cover individual income, Social Security, and Medicare

  obligations

  Employers are required to remit these withheld trust fund
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Internal Revenue Service (“IRS”) on a quarterly basis, no later than the last day

of the month following the end of the quarter. In addition to the trust fund

amounts that must be withheld from pay, employers are separately required to

make contributions under FICA for Social Security and Medicare in amounts

matching the amounts withheld from their employees’ pay for those purposes.

Such employer contributions are likewise required to be remitted to the IRS no

later than the last day of the month following the end of the quarter.

Collectively, these five components required to be remitted quarterly are

commonly referred to as “employment taxes,” made up of the trust fund

amounts withheld (individual income, Social Security, and Medicare taxes) and

the matching amounts contributed. Employment taxes are required to be

reported to the IRS by the employer on a Form 941, Employer’s Quarterly

Federal Tax Return (“Form 941”), due on the last day of the month following

the end of a quarter.

      5.    Any person having authority to exercise significant control over an

employer’s financial affairs is deemed responsible for collecting, accounting for,

and paying over employment taxes, regardless of whether the individual

exercised such control. More than one person may be considered a “responsible

person” for the purpose of collecting, accounting for, and paying over

employment taxes, including trust fund amounts and employers’ matching

amounts.

      6.    To ensure remittance by employers of employment taxes following

the end of each quarter, the IRS has statutory authority to take action in case
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of delinquency, including the legal power to levy employers’ bank accounts and

lien assets to satisfy the obligation to pay over amounts due for employment

taxes. The Internal Revenue Code authorizes the IRS to assess a “Trust Fund

Recovery Penalty” against any individual responsible for paying over the

employment taxes and who willfully fails to pay them over to the United States.

The Trust Fond Recovery Penalty is equal to 100% of the unpaid trust fund

taxes.

                        Reporting of Foreign Bank Accounts

         7.   Additionally, United States citizens, resident aliens, and legal

permanent residents of the United States are required to file an individual

income tax return with the IRS, reporting their worldwide income for each year

if their gross income exceeded a certain amount.

         8.   The IRS required on Form t040, Schedule B, Part III, Line 7a, that

every taxpayer answer the following question by checking a “Yes” or “No” box:

“At any time during [the calendar year], did you have an interest in or

signature or other authority over a financial account in a foreign country, such

as a bank account, securities account, or other financial account?” If the

answer to the question posed on Line 7a was “Yes,” and other exceptions not

relevant here did not apply, then the box on Line 7a had to be checked “Yes.” If

the “Yes” box on Line 7a was checked, then Line 7b required the taxpayer to

enter the name of the foreign country in which the financial account was

located.


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      9.    United States citizens, resident aliens, and legal permanent

residents of the United States who had a financial interest in, or signature or

other authority over, one or more financial accounts in a foreign country with

an aggregate value of more than $10,000 at any time during a particular

calendar year were required to file with the Department of the Treasury a

Report of Foreign Bank and Financial Accounts, Form TD F 90-22.1 (“FEAR”).

The FBAR for the applicable year was due by June 30 of the following year.

      10.   A financial account maintained in a foreign country that was not

reported to the United States government on a tax return and an FEAR is

considered an “undeclared bank account.”

     Defendant Brian Mehling’s Obstruction of the Internal Revenue Laws

      11.   Defendant MEHLING exercised control over Mehling Office

Management’s financial affairs, including approving payments by Mehling

Office Management and controlling its bank accounts. Defendant MEHLING

was responsible for collecting trust fund taxes, accounting for the employment

taxes by filing Forms 941 with the IRS and paying over to the IRS employment

taxes for the employees of Mehling Office Management.

      12.   Prior to 2014, Mehling Office Management issued paychecks to its

employees, filed Forms 941 with the IRS, and withheld trust fund taxes from

its employees’ paychecks.

      13.   From at least 2014 through 2018, defendant MEHLING was

delinquent in paying employment taxes for Mehling Office Management due to

the IRS.
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      14.      As a result of defendant MERLING’s failure to timely pay over to

the IRS the employment taxes for Mehling Office Management, the IRS initiated

collection activity in an effort to recover the unpaid employment taxes. The

IRS’s efforts included, but were not limited to, the following:

            a. Since at least in or around August 2017, filing notices of federal

               tax liens against defendant MEE—ILING and entities owned and

               controlled by him;

            b. Since at least in or around March 2011, assessing the Trust Fund

               Recovery Penalty against defendant MEHLING, individually, for the

               unpaid trust fund taxes of entities he owned and controlled,

               including Mehling Office Management.

      15.      From at least in or around January 2015, until he was contacted

by IRS criminal investigators in or around September 2018, defendant

MEHLING failed to timely pay’ over to the IRS the employment taxes on behalf

of Mehling Office Management.

      16.      In or around 2019, defendant MEHLINO failed to report the

existence of a foreign financial account at the following bank:

       Date             Account Domicile       Bank Name               Amount
   (On or About)                                                    (approximate)
  June 30, 2019              France               BankA           $12,762.25

      17.      In or around 2019, defendant MEHLING failed to timely file an

FBAR, reporting defendant MERLING’s financial interest in, and signature and

other authority over, MEHLING’s foreign financial account at Bank A.


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                                  COUNTS ONE TEN  -



                                    26 U.S.C. § 7202
                         Failure to Pay Over Trust Fund Taxes

       18.        Paragraphs 1 through 17, above, are re-alleged and incorporated

herein, as if fully set forth.

       19.        At all times material to Counts One through Ten, the defendant,

BRIAN MEHLING, was a person required to collect, account for on quarterly

Forms 941, and pay over to the Internal Revenue Service on behalf of Mehling

Office Management, income, Social Security, and Medicare taxes imposed on

its employees by the Internal Revenue Code.

       20.        On or about the dates listed in the table below for each count

herein, in the District of New Jersey, and elsewhere, the defendant, BRIAN

MEHLING, did willfully fail to pay over the aforesaid taxes withheld from the

pay of employees of Mehling Office Management, in the approximate amount

stated:

  Count                   Date            Quarter Ending       Tax Due and Owing
             •       (On or About)                                (approximate)
      1           January 31, 2015     December 31, 2014       $14,974.77
     2            April 30, 2015       March 31, 2015          $96,932.92
     3           •October3l,2015       September3o,2015        $126,181.51
     4            January 31, 2016     December 31, 2015       S237,835.81
     5            April3O,2016         March3l,2016            $225,072.16
     6            July3l,2016          JuneSO,2016             $266,833.12
     7            October 31, 2016     September 30, 2016      $315,640.19
     8            October 31, 2017     September 30, 2017      $40,493.61
     9            January3l,2018       December3l,2017         $132,644.53
     10           April3O,2018         March3l,2018            $69,672.60

In violation of Title 26, United States Code, Section 7202.



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                                 COUNT ELEVEN
                           31 U.S.C. § 5314 and 5322(a)
                    Failure to Report a Foreign Bank Account

       21.    Paragraphs 1 through 20, above, are re-alleged and incorporated

herein, as if fully set forth.

       22.    On or before the time required by law, including any lawful

extensions, the defendant, BRIAN MEHLING, did knowingly and willfully fail to

file a Report of Foreign Sank and Financial Accounts (Form TD F 90-22. 1)

(“FBAR”) by submitting such report to the United States Department of the

Treasury, disclosing that he had a financial interest in, and signature and

other authority over, a bank, securities, and other financial account in a

foreign country, namely, an account located in France at Bank A, which

account had an aggregate value of more than $10,000 at any time during the

years listed below:

r    Count
      11
                            Calendar Year
                                2018
                                                        Due Date for FBAR
                                                         JuneSO,2019

In violation of Title 31, United States Code, Sections 5314 and 5322(a).


                                       A TRUE BILL




CRAIG CI(9PENO
United States Attorney
                                                                                CASE NUMBER: 19- CI2- 93? -crc
                                                                         United States District Court
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                                                                           District of New Jersey
                                                                          UNITED STATES OF AMERICA
                                                                                         V.
                                                                                BRIAN MEHLING
                                                                             INDICTMENT FOR
                                                                                  26 U.S.C. § 7202
                                                                              31 U.S.C. § 5314, 5322(a)
                                                                                    A True Bill,
                                                                                    Fbrepersot
                                                                               CRAIG CARPENITO
                                                                                    US. ATTORNEY
                                                                                 NEWARK, NEW JERSEY
                                                                                    LEAR GOULD
                                                                               ASSISTANT U S. ATTORNEY
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